Case 2:20-cv-03201-ADS Document 18 Filed 09/25/20 Page 1 of 2 Page ID #:44


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                         UNITED STATES DISTRICT COURT
15                      CENTRAL DISTRICT OF CALIFORNIA
16                            WESTERN DIVISION
17
18   REGINA UPTON-TAPIA,                    ) No. 2:20-cv-03201-ADS
19                                          )
           Plaintiff,                       ) JUDGMENT OF REMAND
20                                          )
21                v.                        )
                                            )
22
     ANDREW SAUL,                           )
23   Commissioner of Social Security,       )
24
                                            )
           Defendant.                       )
25                                          )
26                                          )
                                            )
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Case 2:20-cv-03201-ADS Document 18 Filed 09/25/20 Page 2 of 2 Page ID #:45




 1         The Court having approved the parties’ Stipulation to Voluntary Remand
 2   Pursuant to Sentence Four of 42 U.S.C. § 405(g) and to Entry of Judgment
 3   (“Stipulation to Remand”) lodged concurrent with the lodging of the within
 4   Judgment of Remand, IT IS HEREBY ORDERED, ADJUDGED AND
 5   DECREED that the above-captioned action is remanded to the Commissioner of
 6   Social Security for further proceedings consistent with the Stipulation to Remand.
 7
 8   DATED:       9/25/20                      /s/ Autumn D. Spaeth
                                           HON. AUTUMN D. SPAETH
 9                                         UNITED STATES MAGISTRATE JUDGE
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